      Case: 1:17-cv-02635-CAB Doc #: 277 Filed: 03/14/24 1 of 3. PageID #: 16970




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 JAMES HAYDEN,                                       CASE NO. 1:17-cv-02635

                 Plaintiff,                          JUDGE CHRISTOPHER A. BOYKO

 v.

 2K GAMES, INC. and TAKE-TWO
 INTERACTIVE SOFTWARE, INC.,

                 Defendants.



JOINT MOTION FOR LEAVE TO FILE DEPOSITION TRANSCRIPTS UNDER SEAL
          AND TO FILE COUNTER-OBJECTIONS BY MARCH 19

        In response to Your Honor’s March 12 Order (Dkt. 276), Plaintiff James Hayden and

Defendants 2K Games, Inc. and Take-Two Interactive Software, Inc. (collectively, “Take-Two”)

together submit this request for leave to (1) file certain of the full transcripts of any videotape

and stenographic depositions which each intends to use at trial under seal, and (2) file evidentiary

objections and counter-objections including references to the assigned CM-ECF docket number

and pages by Tuesday, March 19, 2024.

        Pursuant to the Court’s March 12 Order, the Parties will file the full transcripts of any

videotape and stenographic depositions which each intends to use at trial. Specifically, Plaintiff

will file the deposition transcripts of Alfie Brody, Anton Dawson, Michael Stauffer, Corie

Zhang, Winnie Hsieh, Joel Friesch, Jeff Thomas, Jason Argent, and LeBron James. Take-Two

will file the two deposition transcripts of James Hayden (2019 and 2023). Although Take-Two

has also designated testimony from Mr. James, it will not duplicate Plaintiff’s filing.
    Case: 1:17-cv-02635-CAB Doc #: 277 Filed: 03/14/24 2 of 3. PageID #: 16971




        The Parties request permission to file the transcripts of Alfie Brody, Anton Dawson,

Michael Stauffer, Corie Zhang, Winnie Hsieh, Joel Friesch, Jeff Thomas, Jason Argent, LeBron

James, and James Hayden’s 2023 deposition under seal, as they have been designated

confidential under the protective order and contain sensitive materials private to the parties,

including material that has not been designated by either party and, thus, would not be part of the

trial record.

        The parties also seek leave to file their evidentiary objections and counter-objections by

March 19 for two reasons. First, pursuant to the Court’s February 8, 2024 Order, the parties will

not file deposition objections and counter-designations until March 14, which will make it

challenging for them to identify objections to the counter-designations and file those with the

Court by 12:00 pm ET the next day. The parties therefore respectfully request a short extension

of time, sufficient to analyze the opposing party’s counter-designations, determine their

objections to those counter-designations, if any, and prepare the filing for the Court.

        Second, the parties also are requesting sufficient time to add the CM-ECF docket

numbers to their submission. The parties, however, would like to note for the Court that they do

not receive file stamped copies of sealed documents from the Northern District of Ohio, and so

for any sealed transcripts, they will not have access to the CM-ECF page numbers on the Court’s

docketing system. The parties therefore propose including in their March 19 submission to the

Court updated charts for deposition including designations, objections, counter-designations and

counter-objections that indicate the Docket Entry number, deposition page number, and

transcript line numbers. The parties intend to individually file the deposition transcripts without

cover or other slipsheet, such that the deposition transcript page numbers will match the PDF

page number of the transcripts that are filed with the Court.




                                                 2
   Case: 1:17-cv-02635-CAB Doc #: 277 Filed: 03/14/24 3 of 3. PageID #: 16972




        The parties welcome any additional guidance on the form of submission the Court may

have.



 DATED: March 14, 2024

 /s/ Dale M. Cendali                               /s/ Andrew Alexander
 Dale M. Cendali (admitted pro hac vice)           John Cipolla (Ohio Bar No. 0043614)
 Joshua L. Simmons (admitted pro hac vice)         Daniel McMullen (Ohio Bar No. 0034380)
 Chris T. Ilardi (admitted pro hac vice)           Todd R. Tucker (Ohio Bar No. 0065617)
 Joshua C. Berlowitz (admitted pro hac vice)       Andrew Alexander (Ohio Bar No. 0091167)
 KIRKLAND & ELLIS LLP                              Josh A. Friedman (Ohio Bar No. 0091049)
 601 Lexington Avenue                              Dustin Likens (Ohio Bar No. 0097891)
 New York, New York 10022                          CALFEE, HALTER & GRISWOLD LLP
 Telephone: (212) 446-4800                         The Calfee Building
 dale.cendali@kirkland.com                         1405 East Sixth Street
 joshua.simmons@kirkland.com                       Cleveland, Ohio 44114-1607
 chris.ilardi@kirkland.com                         Telephone: (216) 622-8200
 joshua.berlowitz@kirkland.com                     Facsimile: (216) 241-0816
                                                   jcipolla@calfee.com
 Miranda D. Means (admitted pro hac vice)          dmcmullen@calfee.com
 KIRKLAND & ELLIS LLP                              ttucker@calfee.com
 200 Clarendon Street                              aalexander@calfee.com
 Boston, Massachusetts 02116                       jfriedman@calfee.com
 Telephone: (617) 385-7500                         dlikens@calfee.com
 miranda.means@kirkland.com

 Yungmoon Chang (admitted pro hac vice)            Of Counsel
 KIRKLAND & ELLIS LLP
 2049 Century Park East, 37th Floor                Kimberly A. Pinter (Ohio Bar No. 0084277)
 Los Angeles, CA 90067                             CALFEE, HALTER & GRISWOLD LLP
 Telephone: (310) 552-4359                         The Calfee Building
 yungmoon.chang@kirkland.com                       1405 East Sixth Street
                                                   Cleveland, Ohio 44114-1607
 Matthew J. Cavanagh (OH 0079522)                  Telephone: (216) 622-8200
 MCDONALD HOPKINS LLC                              Facsimile: (216) 241-0816
 600 Superior Avenue, East, Ste. 2100              kpinter@calfee.com
 Cleveland, Ohio 44114
 Telephone: (216) 348-5400                         Attorneys for Plaintiff James Hayden
 Fax: (216) 348-5474
 mcavanagh@mcdonaldhopkins.com

 Attorneys for Defendants 2K Games, Inc.
 and Take-Two Interactive Software, Inc.


                                               3
